        Case 2:01-cv-06049-MSG Document 311 Filed 06/30/22 Page 1 of 4


From:             jbarker_attorneygeneral.gov
To:               Owen Healy; Summers, John S.; VanWyk, Claudia (FD); McHugh, Elizabeth (FD); max.kaufman@phila.gov;
                  nancy.winkelman@phila.gov; paul.george@phila.gov; Erdlen, Andrew M.; drudovsky_krlawphila.com; Mahler,
                  Cari
Cc:               Chambers of Judge Mitchell S Goldberg
Subject:          RE: [ EXTERNAL ] Wharton v. Vaughn (E.D. Pa. 01-cv-6049) -- Request for Information
Date:             Tuesday, June 28, 2022 2:30:56 PM
Attachments:      DeRamus memorandum.pdf


CAUTION - EXTERNAL:

Good afternoon.

The information regarding Robert Wharton’s escape from City Hall was gathered by Attorney Cari
Mahler. At that time, we had no background information on Wharton and really knew nothing about
him, the case, his history, etc. We therefore started from scratch to uncover as much information as
possible about Wharton’s time in prison and criminal history.

Shortly after the Court requested that we participate as amicus curiae, Attorney Mahler obtained
Wharton’s prison adjustment records from the Pennsylvania Department of Corrections. Those
documents included a memorandum (copy attached) dated July 23, 1986, to Erskind DeRamus,
Deputy Commissioner, from Adrian Callender, addressing Wharton. Essentially, the document is an
intake memo. Of particular relevance, it states, “Mr. Wharton reports that while in the Sheriff’s
custody at City Hall for court procedures, he attempted to escape when he was temporarily left
alone by the sheriff’s office staff. He said that he was reapprehended before he could exit the
building, and he was never prosecuted for the attempted escape.” This memo was attached as an
exhibit to the OAG amicus brief and was in OAG’s hearing binder as part of an exhibit.

As a result of finding the memo, Attorney Mahler looked at Wharton’s criminal history and reviewed
his Quarter Sessions files at the Criminal Justice Center, one of which pertained to the prosecution
for his escape attempt. From the court file, she obtained the Written Guilty Plea Colloquy, arrest
paperwork, criminal complaint, handwritten court docket entries, sentencing paperwork, and
District Attorney Charging Unit High Bail Request form (all attached to the amicus brief and hearing
exhibit binder). She also obtained the computer generated court dockets for the attempted escape
case and the home invasion/robbery case (Wharton attempted to escape during the sentencing in
the latter case).

Attorney Mahler then learned that Mr. Vega had been present in the City Hall courtroom during the
escape and did a search online for any newspaper articles/information addressing the escape from
City Hall. Mr. Vega’s statement and the newspaper articles were also attached to our amicus brief
and were in our hearing binder. Additionally, a general search on Westlaw for cases addressing
Robert Wharton revealed that he had filed a civil suit against the sheriffs who shot him during the
escape (also attached to the amicus brief and in hearing binder). As a result of the information
already gathered, Attorney Mahler obtained the DOC medical records referencing Wharton’s
treatment for the gunshot wounds.

This information was not shared with the District Attorney’s Office before the OAG filed its amicus
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brief.

James P. Barker                           Cari Mahler
Chief Deputy Attorney General            Senior Deputy Attorney General



From: Owen Healy <Owen_Healy@paed.uscourts.gov>
Sent: Tuesday, June 28, 2022 11:48 AM
To: Summers, John S. <jss@hangley.com>; VanWyk, Claudia (FD) <Claudia_VanWyk@fd.org>;
McHugh, Elizabeth (FD) <Elizabeth_McHugh@fd.org>; max.kaufman@phila.gov;
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Subject: [ EXTERNAL ] Wharton v. Vaughn (E.D. Pa. 01-cv-6049) -- Request for Information


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    Pennsylvania Office of Attorney General
Dear Counsel,

Please see below from Judge Goldberg.

Owen E. Healy
Law Clerk to the Honorable Mitchell S. Goldberg
(267) 299-7505



Dear Counsel,

At the hearing, I neglected to ask the Attorney General’s Office how and when it learned of
Wharton’s 1986 escape. I would also like to know whether, aside from docketed briefs, this
information was provided to the District Attorney’s Office. I am requesting that the Attorney
General’s Office provide this information by replying to this email, which will be docketed.

Mitch Goldberg

Judge Mitchell S. Goldberg
United States District Court
Eastern District of Pa.
601 Market Street
Philadelphia, PA 19106
(267) 299-7500
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